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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-3914-GW-AGRx                                            Date      September 20, 2023
 Title             Vivek Shah v. Blueground US, Inc.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                 IN CHAMBERS - FINAL RULING ON PLAINTIFF'S MOTION FOR
                              DEFAULT JUDGMENT [13]


The Tentative Rulings [16, 19] are adopted as the Court’s Final Rulings. The Court dismisses the above-
entitled action for lack of subject matter jurisdiction.




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                                                               Initials of Preparer   JG
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